 Case 5:98-cv-01039-DNH-DEP        Document 447           Filed 06/28/06   Page 1 of 11




UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
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NIAGARA MOHAWK POWER CORPORATION,

                                 Plaintiff,

                    vs

CONSOLIDATED RAIL CORPORATION; THE
KING SERVICE, INC.; UNITED STATES STEEL
COMPANY; EDWIN D. KING; LAWRENCE
KING; RICHARD B. SLOTE; CHEVRON U.S.A.,                          5:98-CV-1039
INC.; PORTEC, INC.; and AMERICAN PREMIER
UNDERWRITERS, INC.;

                                 Defendants.

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CHEVRON, U.S.A., INC.,

                                 Third-party Plaintiff,
                    vs

THE COUNTY OF RENSSELAER; and THE COUNTY
OF RENSSELAER SEWER DISTRICT NO. 1,

                                 Third-party Defendants.

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 Case 5:98-cv-01039-DNH-DEP        Document 447      Filed 06/28/06   Page 2 of 11




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                                               2
 Case 5:98-cv-01039-DNH-DEP               Document 447          Filed 06/28/06       Page 3 of 11




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DAVID N. HURD
United States District Judge

                              MEMORANDUM-DECISION and ORDER

I. INTRODUCTION

               On May 10, 2005, the United States Court of Appeals for the Second Circuit

issued a Mandate remanding this matter for consideration in light of Cooper Indus., Inc. v.

Aviall Services, Inc., 543 U.S. 157, 125 S. Ct. 577 (2004). The Mandate was filed on May

16, 2005.

               Accordingly, defendants Chevron U.S.A., Inc. ("Chevron"); Consolidated Rail

Corporation ("Conrail"); King Service, Inc. ("King");1 and Portec, Inc. ("Portec") filed briefs

addressing the issue as set forth in the Mandate. United States Steel ("USX") noted that it is

not affected and would not submit a brief. Plaintiff Niagara Mohawk Power Corporation

("Niagara Mohawk") responded. The matter was taken on submission without oral

argument.

II. BACKGROUND

               On November 6, 2003, a Memorandum-Decision and Order was entered

setting forth a detailed background of this case and disposing of multiple motions of the

parties. See Niagara Mohawk Power Corp. v. Consol. Rail Corp., 291 F. Supp. 2d 105


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            Individual defendants Edwin King, Lawrence King, and Richard Slote were officers of King
  Service, Inc. For simplification, this opinion will refer to King as the corporation and these individual
  defendants collectively.

                                                       3
 Case 5:98-cv-01039-DNH-DEP                       Document 447             Filed 06/28/06            Page 4 of 11




(N.D.N.Y. 2003). Familiarity with that decision is assumed. The rulings resulted in Conrail,

defendant American Premier Underwriters ("APU"), USX, and Portec being out of the case.

King filed a Notice of Appeal with the Second Circuit Court of Appeals on December 8, 2003.

It subsequently stipulated to the withdrawal of this appeal.

                 In early 2004, Niagara Mohawk, USX, Conrail, APU, Portec, and King moved

for partial final judgment. That motion was granted and a partial final judgment was entered

on March 3, 2004. See Niagara Mohawk Power Corp. v. Consol. Rail Corp., 306 F. Supp. 2d

282, 288 (N.D.N.Y. 2004). Pursuant to the request of Niagara Mohawk, an amended

judgment adding dismissal of all defendants' counterclaims for contribution under CERCLA

was entered on March 11, 2004.2 Niagara Mohawk appealed. King and Chevron cross-

appealed. On December 12, 2004, the United States Supreme Court decided Cooper

Industries and the remand followed.

III. DISCUSSION

                 In Cooper Industries, the Court held that a private party that had not been sued

under § 106 or § 107(a) of the Comprehensive Environmental Response Compensation and



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              Judgment was entered (1) granting summary judgment in favor of APU, Conrail, Portec, and
  USX on Niagara Mohawk's CERCLA contribution claims (Count I of the Amended Complaint); (2)
  gra nting su m m ary judg m en t in fav or o f Ch ev ron on Nia ga ra M oh aw k's C ER C LA co ntrib ution claim as to
  Area 4 (Count I of the Amended Complaint); (3) dismissing Niagara Mohawk's New York Navigation Law
  claims (Co unts II and III of the Am end ed C om plaint) as ag ainst all defend ants; (4) dism issing N iagara
  Mohawk's state contribution, indemnification, and public nuisance claims (Counts IV, V, and VII) as
  against all defendants; (5) dismissing all cross-claims asserted against USX, Con rail, APU, and Po rtec,
  (6) d ism issin g a ll defe nd an ts' co un terc laim s for co ntrib ution un de r C ER C LA ; (7) d ism issin g th e th ird-p arty
  action; and (8) dismissing all claims and cross-claims against Chevron relating to Area 4.

           R em ain ing for re so lution wa s w he the r N iag ara M oh aw k's re sp on se co sts w ere co ns isten t with
  the Na tiona l Co nting en cy P lan ("N C P" ), a p rere qu isite fo r a find ing of C ER C LA liability, w ith re ga rd to its
  CERC LA claims against King (Area 2) and Chevron (Areas 2 and 3). If Niagara Mohawk established
  con sistency w ith the NC P, then dam age s wo uld be app ortioned . Also rem aining for res olution w ere
  C hevr on's c ounterc laim s a gainst N iagara M ohaw k a nd cross -c laim s a gainst King, as w ell as K ing's
  counterclaims against Niagara Mohawk and cross-claims against Chevron.

                                                                4
 Case 5:98-cv-01039-DNH-DEP           Document 447       Filed 06/28/06     Page 5 of 11




Liability Act ("CERCLA"), 42 U.S.C. §§ 9601-75, cannot bring a claim for contribution

pursuant to CERCLA § 113(f)(1), 42 U.S.C. § 9613(f)(1). 543 U.S. at 160-61, 125 S. Ct. at

580. Niagara Mohawk concedes that under Cooper Industries its claim for contribution under

§ 9613(f)(1) does not lie. However, it contends that it is entitled to pursue contribution claims

pursuant to § 9613(f)(3)(B) and CERCLA § 107(a). Accordingly, it seeks leave to amend the

complaint to assert those contribution claims, also arguing that such claims are not time

barred. Finally, Niagara Mohawk contends that supplemental jurisdiction over its state law

claims should be retained.

              A. Contribution Claim under § 9613(f)(3)(B)

              The basis for Niagara Mohawk's contention that a contribution claim under

§ 9613(f)(3)(B) will lie is a 2003 revision of a Consent Order entered into with the New York

State Department of Environmental Conservation ("DEC") that purportedly resolved its

liability with regard to various sites including the Troy Water Street site at issue in this

litigation. Section 9613(f)(3)(B), which applies to "Persons not party to settlement," provides

that

              A person who has resolved its liability to the United States or a
              State for some or all of a response action or for some or all of the
              costs of such action in an administrative or judicially approved
              settlement may seek contribution from any person who is not
              party to a settlement

with the United States or a State and therefore afforded contribution protection pursuant to

9613(f)(2). 42 U.S.C. § 9613. The Consent Order, dated 1992, that is a part of the record

does not meet the statutory prerequisites to seeking contribution under § 9613(f)(3)(B)

because it did not resolve liability with the United States or New York State.



                                                 5
 Case 5:98-cv-01039-DNH-DEP             Document 447        Filed 06/28/06      Page 6 of 11




              Niagara Mohawk argues that, pursuant to the 2003 Amended Consent Order,

its liability to the State was resolved, therefore meeting the statutory prerequisite of resolution

of liability. However, the Amended Consent Order is not a part of the record in this case, and

no motion to supplement the record has been made.3 The Amended Consent Order was

executed by Niagara Mohawk on October 22, 2003, and by DEC on November 7, 2003. The

first mention of this Amended Consent Order was when Niagara Mohawk apparently

attempted to bring it before the appeals court, sometime early in 2005, over one year after its

execution. It was around this same time that the document became known to defendants.

Accordingly, it would be improper to consider the Amended Consent Order at this late date.

              Even if the Amended Consent Order were considered, Niagara Mohawk's

argument would fail. It points to three provisions of the 2003 Amended Consent Order:

(1) that "Niagara Mohawk shall be deemed to have resolved its liability to the State for

purposes of contribution protection provided by CERCLA Section 113(f)(2) for 'matters

addressed' pursuant to and in accordance with this Order;" (2) "Furthermore, . . . [Niagara

Mohawk] is entitled to seek contribution from any person except those who are entitled to

contribution protection under 42 U.S.C. Section 9613(f)(2);" and (3) providing for a release

and covenant not to sue pursuant to New York law and "any other provision of State or

Federal statutory or common law involving or relating to investigative or remedial activities

relative to or arising from the disposal of hazardous wastes or hazardous substances . . . at

the Site." (Murray Aff. Ex. A at 20, 7.) However, resolution of liability for state law claims


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             The Amended Consent Order is an attachment to an attorney affidavit submitted in support of
  Niagara Mohawk's brief on remand, but was not included (or for that matter mentioned) in any prior
  proceedings, which have been ongoing since 1998.
          It is also noted that Niagara Mohawk sought permission in the Second Circuit to supplement the
  record on appeal with the Amended Consent Order. Permission was denied.

                                                   6
 Case 5:98-cv-01039-DNH-DEP            Document 447        Filed 06/28/06      Page 7 of 11




does not meet the statutory prerequisite. See Consol. Edison Co. of N.Y. v. UGI Utilities,

Inc., 423 F.3d 90, 96 (2d Cir. 2005). Rather, to bring a § 9613(f)(3)(B) claim, CERCLA

liability must have been resolved. See id. A state has no CERCLA authority absent specific

agreement with the federal Environmental Protection Agency. See W.R. Grace & Co.-Conn.

v. Zotos Int'l, Inc., No. 98-CV-838S(F), 2005 WL 1076117, at *4 (W.D.N.Y. May 3, 2005)

(citing 42 U.S.C. § 9604). Here, there is no evidence, argument, or even allegation that

federal authorities vested CERCLA authority in the DEC with regard to the agreement

between DEC and Niagara Mohawk. Additionally, although the agreement states that there

would be a release and covenant not to sue, the DEC specifically reserved all of its rights to

further investigate and require additional remediation related to hazardous waste.

Accordingly, although the Amended Consent Order may be an administrative resolution of

Niagara Mohawk's liability to the State, it does not resolve CERCLA liability and no action

pursuant to § 9613(f)(3)(B) can be maintained.4

              B. CERCLA § 107(a) Claim

              Niagara Mohawk contends it should be permitted to pursue an implied cause of

action for contribution pursuant to § 107(a). Originally Niagara Mohawk filed a §107(a) claim,

but withdrew it after the decision in Bedford Affiliates v. Sills, 157 F.3d 416 (2d Cir. 1998).

The Bedford Affiliates Court held that a potentially responsible person could not maintain a

cost recovery claim pursuant to § 107(a). Id. at 423-24. Rather, the proper cause of action

for a potentially responsible person was a contribution action brought pursuant to § 113(f)(1).

Id. Subsequently, however, the Supreme Court has held that a § 113(f)(1) cause of action is


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            Because Niagara Mohawk cannot maintain a § 9613(f)(3)(B) claim, it is unnecessary to address
  the statute of limitations.

                                                   7
 Case 5:98-cv-01039-DNH-DEP           Document 447        Filed 06/28/06    Page 8 of 11




not available to a party who was not the subject of a suit brought under § 106 or § 107(a).

Cooper Industries, 543 U.S. at 161, 125 S. Ct. at 580.

              The Second Circuit considered the anomalous result of these two cases taken

together, that is, that seemingly an innocent party who voluntarily sought to remediate

hazardous waste would be left without a remedy against potentially responsible parties. See

Consol. Edison, 423 F.3d at 99. The Second Circuit therefore distinguished Bedford

Affiliates on its facts, finding that the distinction between innocent parties and potentially

responsible persons had no basis and therefore an implied cause of action for contribution

under § 107(a) was available to a party who had not been sued. Id. at 99-100. The

Consolidated Edison Court pointed out that there had been no adjudication of liability, no

consent order, and no administrative or judicial settlement, contrasted with the plaintiff in

Bedford Affiliates which was subject to two consent orders. Id. at 101-02. The court further

noted that there had been no proceeding apportioning costs to the plaintiff, whereas in

Bedford Affiliates plaintiff put the extent of its own liability at issue by bringing claims under

§ 113(f)(1) as well as 107(a). Id. Accordingly, the Consolidated Edison Court "read Bedford

Affiliates to hold that a party that has incurred or is incurring expenditures under a consent

order with a government agency and has been found partially liable under section 113(f)(1)

may not seek to recoup those expenditures under section 107(a)." Id at 102.

              The court in Consolidated Edison expressly declined "to revisit Bedford

Affiliates because of critical distinctions between that case and this one." Id. at 100-01 &

n.12. Thus, the holding in that case remains good law in this circuit. See Cadlerock Props.

Joint Venture v. Schilberg, No. 3:01CV896(MRK), 2005 WL 1683494, at *8-9 (D. Conn. July

19, 2005).

                                                 8
 Case 5:98-cv-01039-DNH-DEP                      Document 447             Filed 06/28/06           Page 9 of 11




                 The facts of this case fall squarely within the holding of Bedford Affiliates as

the Consolidated Edison Court read it. Niagara Mohawk is a party that has incurred and is

incurring expenditures under two consent orders with the DEC. See Consol. Edison, 423

F.3d at 102. Although there has not been an apportionment of liability against Niagara

Mohawk in a § 113(f) action, there never has been a question that Niagara Mohawk is liable

for some of the response costs as it was the operator of the manufactured gas plant that

generated and disposed of coal tar and its associated hazardous waste at the Troy Water

Street site that the DEC sought to remediate. Moreover, it implicitly concedes its liability for

some response costs by attempting to recover from the defendants in a contribution action.

Accordingly, Niagara Mohawk cannot bring a claim for contribution pursuant to § 107(a).5

See Cadlerock Props. Joint Venture, 2005 WL 1683494, at *9; cf. Consol. Edison, 423 F.3d

at 101-02 (finding that where plaintiff's liability was not adjudicated and it was not a party to

any consent order, the case was distinguishable from Bedford Affiliates and a §107 (a) claim

would lie).

                 C. Supplemental State Law Claims

                 Remaining after dismissal of the CERCLA causes of action is a state law unjust

enrichment (restitution) claim. As there remain no federal causes of action, supplemental

jurisdiction over state law claims may be declined. Nowak v. Ironworkers Local 6 Pension

Fund, 81 F.3d 1182, 1191 (2d Cir. 1996).

                 Niagara Mohawk argues that judicial economy, comity, convenience, and

issues of fairness support retention of supplemental jurisdiction. Although discovery on



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              Th e s tatute of lim itations ne ed no t be ad dr es se d g ive n th is re so lution of the § 1 07 (a ) claim .

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Case 5:98-cv-01039-DNH-DEP                     Document 447             Filed 06/28/06          Page 10 of 11




liability is complete, discovery on apportionment and damages has yet to begin. Issues of

liability have been briefed and decided; however, liability on the unjust enrichment

(restitution) claim has not been determined. See Niagara Mohawk Power Corp., 291 F.

Supp. 2d at 140 (denying Niagara Mohawk's motion for partial summary judgment as to

unjust enrichment/restitution). Declining supplemental jurisdiction would not waste judicial

and party resources, since the focus of the litigation to this point has been on the CERCLA

claims, and not on any unjust enrichment. A claim for unjust enrichment (restitution) is

intimately tied to the (undetermined) issue of apportionment and damages. Unjust

enrichment (restitution) is ancillary to the main issue in this case, CERCLA liability for the

remediation of hazardous waste. Thus, supplemental jurisdiction will be declined. Further,

supplemental jurisdiction will be declined over the Chevron and King unresolved

counterclaims and cross-claims, see supra note 2, brought pursuant to state law.6

IV. CONCLUSION

                 Neither the 1992 consent order or the 2003 amended consent order resolve

Niagara Mohawk CERCLA liability. Thus, it cannot maintain an action pursuant to

§ 9613(f)(3)(B). Bedford Affiliates is still good law in this Circuit. Because the facts of this

case are indistinguishable from those in Bedford Affiliates, Niagara Mohawk cannot bring a

claim for contribution under § 107(a). Judicial economy, convenience, and issues of fairness

do not support retention of supplemental jurisdiction over Niagara Mohawk's unjust

enrichment (restitution) claim or Chevron and King's unresolved counterclaims and cross-

claims.


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          Th ey ad dition ally as se rt claim s u nd er "fe de ra l co m m on law ;" h ow ev er , an y s uc h c laim s w ou ld
  be preempted by CERCLA.

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Case 5:98-cv-01039-DNH-DEP         Document 447      Filed 06/28/06   Page 11 of 11




             Accordingly, it is

             ORDERED that

             1. All claims brought by Niagara Mohawk Power Corporation pursuant to

CERCLA are DISMISSED; and

             2. Niagara Mohawk Power Corporation's claims for unjust enrichment

(restitution) against Chevron USA, Inc.; and Edwin King, Lawrence King, Richard Slote, and

King Services, Inc. are DISMISSED without prejudice;

             3. Chevron USA, Inc.'s counterclaims and cross-claims are DISMISSED

without prejudice; and

             4. Edwin King, Lawrence King, Richard Slote, and King Service, Inc.'s

counterclaims and cross-claims are DISMISSED without prejudice.

             The Clerk of the Court is directed to enter judgment accordingly.

             IT IS SO ORDERED.




Dated: June 28, 2006
       Utica, New York.




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